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                                                             No . 15-1465
                                  UN ITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                                   Taylor v. Henderson
                                                            632 F. App'x 70
                                                         Dec ided   ov 19, 2015



    No. 15-1465                                                          was revoked again in 2004 after he tested positive
                                                                         for cocaine, and he has remained in prison ever
     11-19-2015
                                                                         since. At issue in this case are Taylor's
    RICHARD D. TAYLOR, Appellant v. DAVID                                applications for parole that the Delaware Board of
    HENDERSON; WILLIAM C. PFEIFER; JOYCE                                 Parole (the "Board") denied in 2008, 2012 and
    BEMBRY; LEEANN BULLOCK; GREGORY                                      2014. The Board denied parole in 2008 on six
    GARCIA; JAMES T. JUSTICE                                             grounds, including the "violent nature of offense"
                                                                         and Taylor's "substance abuse history." The Board
    PERCURIAM                                                            again cited the "violent nature of offense" and four
                                                                         other grounds when denying parole in 2012.
    NOT PRECEDENTIAL
                                                                         After the Board's 20 12 denial, Taylor filed the suit
    On Appeal from the United States District Court
                                                                         at issue here and later amended his complaint. The
    for the District of Delaware
                                                                         amended complaint asserts essentially two claims.
    (D.C. Civil Action No. 1-12-cv-01105)
                                                                         First, Taylor claims that it was improper for the
    District Judge: Honorable Gregory M. Sleet
                                                                         Board to rely on the nature of his underlying
    Submitted Pursuant to Third Circuit LAR 34.1(a)
                                                                         offense because the Board previously paroled him
    November 17, 2015
                                                                         notwithstanding the nature of that offense. Taylor
    Before:       CHA GARES,       KRAUSE        and
                                                                         sought otherwise unspecified injunctive relief on
    GREENBERG, Circuit Judg~
                                                                         this claim and requested a determination "whether
    OPINION* PER CURIAM
                                                                         the Board of Paro le can continue to deny me re-
         • This disposition is not an opinion of the                     parole based on the Serious Nature of My
            full Court and pursuant to 1.O.P. 5.7 does                   Offense." (ECF o. 16 at 3.)
           not constitute binding precedent.
                                                                         Second, Taylor claims that the Board's reliance on
    Richard D. Taylor appeals from the order of the                      his history of substance abuse violated his rights
2   District Court dismissing his •2 amended                             under Title II of the Americans With Disabilities
    complaint and denying his motion to further                          Act ("ADA"). Taylor has been diagnosed with
    amend as moot. We will affirm in part, vacate in                     Post Traumatic Stress Disorder ("PTSD") arising
    part, and remand for further proceedings.                       3    from •3 his service in the military in Vietnam, and
                                                                         he appears to claim that both that disorder and his
    I.                                                                   drug addiction constitute disabilities for ADA
    Taylor is a Delaware inmate serving two                              purposes. He further claims that his PTSD was the
    concurrent terms of life imprisonment imposed in                     underlying cause of his substance abuse and that
    1971 for rape and kidnapping. Following a series                     he cannot obtain adequate treatment for his PTSD
    of paroles and parole revocations, Taylor's parole                   while in prison. He also alleges that the



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     Department of Veteran Affairs has approved him                        2 Taylor properly asserted his claims under

     for a re-entry program that would provide such                          42 U.S.C. ~ 1983 and the ADA rather than

     treatment but that he cannot avail himself of that                      in a habeas petition because success on his
                                                                             claims that the Board relied in part on
     program because the Board's denials of parole are
                                                                             impermissib le factors would result merely
     keeping him in prison. Thus, he appears to claim
                                                                             in a new parole determination and not
     that the Board is violating the ADA by (1) relying
                                                                             immediate        release    from      prison.   &
     on his history of substance abuse in denying
                                                                             Wilkinson v Dotson. 544 U. S. 74. 82
     parole while (2) effectively denying him the PTSD
                                                                             (2005) (~ 1983); Benchoff v. Colleran, 404
     treatment necessary to remedy that substance                            F.3<l 8 12. 815 n.4 (3d Cir. 2005) (same);
     abuse.                                                                  fu)govich v Sandoval , I X9 F 3d 999. I 003-
                                                                             04 (9th Cir. 1999) (ADA). Thus , the
     The defendant Board members I filed a motion
                                                                             District     Court         properly      exercised
     under Fed. R. Civ. P. I 2(b)( 6) to dismiss Taylor's
                                                                             jurisdiction, and we have jurisdiction under
     amended complaint on statute of limitations and
                                                                             28 L'. S.C   ~    1291 . "We exercise plenary
     other grounds. Taylor responded with a motion to                        review of the District Court's dismissal of
     further amend to include the same challenges to                         (a] Complaint on statute of limitations
     the Board's materially identical 2014 denial of                         grounds under Fed. R. C1, . P 12(hH6)."
     parole. Taylor also sought to assert as a third claim                   Romero v Allstate Com., 404              ~ ~d   2 12.
     that the Board acted arbitrarily by relying on                          220 (3 d Cir. 2005).
     impermissible factors in violation of the Due
     Process Clause of the Fourteenth Amendment.                     II.
     The District Court granted the Board's motion and               Taylor claims that the Board (1) denied him due
     dismissed Taylor's amended complaint solely on                  process by relying on the nature of his offense and
     statute of limitations grounds. In doing so, the                (2) denied him due process and violated the ADA
     District Court addressed Taylor's proposed second               by relying on his history of substance abuse. The
     amended complaint, but it did not grant Taylor                  parties and the District Court agree that these
4    leave to file that second amended *4 complaint                  claims are governed by Delaware's two-year
     and instead denied his motion to amend as moot.                 statute of limitations for personal injury actions.
     We construe these rulings to include a ruling that              See Disabled in Action of Pa. v. S.E. Pa. Transp-=-
     the proposed amendment would be futile . Taylor                 Auth., 53 9 F. Jd 199. 208 (3d Cir. 2008) (ADA);
     appeals. ~                                                      McDowell v. Del. State Police. 88 F.3 d 188. 190
                                                                     (3d Cir. 1996) (* 1983).
           I Taylor named as defendants individual
             members of the Board but never named or                 The District Court concluded that Taylor's claims
             sought to name the Board itself. The                    are untimely in their entirety. As we will explain,
             defendants argue on appeal that we should
                                                                     we agree as to Taylor's claim that the Board
             affirm the dismissal of Taylor's amended
                                                                     denied him due process by relying on the nature of
             complaint because he never named the
                                                                     his offense. We further agree as to Taylor's claims
             Board itself as a defendant or served
                                                                     that the Board denied him due process and
             process on a majority of the Board
             members. We do not decide that issue as
                                                                     violated the ADA by relying on his history of
             discussed below, and we hereafter refer to              substance abuse. at least to the extent that those
             the defendants collectively as the Board                claims challenge the Board's reliance on that
            solely for ease of reference .                           factor per se. Those claims, however, have another
                                                                     aspect that the District Court did not acknowledge
                                                                     and that cannot be deemed untimely at this stage.
                                                                 5   *5


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     The District Court dismissed Taylor's due process                    knew or should have known of that alleged injury
     claim regarding the Board's reliance on the nature                   at that time. See,~g" Bogovich, 189 F.3d at I 003-
     of his offense because he learned of that alleged                    04 (addressing cognizability of similar claim).
     injury when the Board denied parole in 2008 but
                                                                          Taylor's due process and ADA challenges to the
     did not file suit until over four years later after the
                                                                          Board's denial of parole in 2012 and 2014,
     Board again denied parole in 2012. That
                                                                          however, also have another aspect. Taylor does not
     conclusion clearly is correct as to the Board's
                                                                          claim merely that the Board erred in relying on his
     denial of parole in 2008 . The District Court did
                                                                          past substance abuse per se. Instead, he claims that
     not explain why that circumstance bars Taylor's
                                                                          the Board's reliance on his past substance abuse
     challenges to the 2012 and 2014 denials of parole
                                                                          denied him due process and violated the ADA in
     as well, but it does . The Board's reliance on the
                                                                          light of the information he presented to the Board
     nature of Taylor's offense was apparent in 2008
                                                                          in those specific parole applications.
     when it expressly cited that factor in denying
     parole. Taylor thus knew everything he needed to                     In particular, Taylor claims to have advised the
     know to assert his challenge at that time. The                       Board both that the root cause of his substance
     Board's "identically phrased" reliance on this                       abuse was PTSD and that he will be eligible for
     factor again in 2012 and 2014 was not "a                             PTSD treatment if released but cannot obtain such
     necessary factual predicate to [this] claim"                         treatment in prison. Taylor claims that he first
     because the Board's reliance on this factor in 2008                  learned of these circumstances in 2009, and he
     "would have been sufficient for [Taylor] to                          attached documentation supporting that claim to
     formulate his complaint." Benchoff, -W4 F.3d at                      his amended complaint. ' Taylor further claims that
     818 .                                                                he presented this information to the Board at his
                                                                          next opportunity to apply for parole and that the
     Taylor argues that he could not have asserted this
                                                                      7   Board denied him due *7 process and violated the
     claim in 2008 because it is based on the Board's
                                                                          ADA by relying on his past substance abuse under
     "continual" reliance on the nature of his offense
                                                                          these specific circumstances.
     and he could not have known that the Board
     would continue to rely on it until it did so again in                      3 Taylor attached a September 4, 2009
     2012. As the Board observes, this argument                                   decision from the Department of Veteran

     assumes that it was permissible for the Board to                             Affa irs ruling him e ligible for PTSD

     rely on the nature of Taylor's offense once in 2008                          treatment as a veteran's benefit. The report

     but not thereafter. Taylor has cited no authority                            notes that Taylor's "cocaine and alcohol
                                                                                  dependence [is] secondary to PTSD" and
     supporting such a proposition, and we are aware
                                                                                  that various    factors   including Taylor's
     of none. The Board's continued reliance on this
                                                                                  incarceration and "lack of mental health
     factor also does not make Taylor's claim timely
                                                                                  treatment are obstacles in his recovery
     under a continuing violation theory because Taylor
                                                                                  from PTSD." (ECF No . 16 at 9- 10.) Taylor
     was or should have been "aware of the [alleged]
                                                                                  also attached correspondence from the
     injury at the time it occurred" in 2008. Montanez                            Department of Veterans Affairs noting his
     v. Sec'Y. Pa. Dep't of Corr. , 773 F.3d -ff~ . -1-8 I (3 d                   eligibi lity for benefits   in general and
6    Cir. 2014) (quotation marks omitted). *6                                     suggesting   that   he    might qualify   for
                                                                                  treatment under the Health Care for Re-
     Much the same analysis applies to Taylor's due
                                                                                  Entry Veterans Program only if released
     process and ADA claims to the extent that he
                                                                                  from prison. (Id,_ at 11-12.)
     challenges the Board's reliance on his prior
     substance abuse per se. Because the Board
     expressly relied on that factor in 2008, Taylor


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    The District Court did not acknowledge this aspect              Thus, Taylor's allegation that the Board relied on
    of Taylor's claims, and we cannot conclude at this              his history of substance abuse is sufficient at the
    stage that they are barred by the statute of                    pleading stage.
    limitations. The Board argues that they are
                                                                    Second, the Board argues that Taylor's claims fail
    because Taylor alleges that he learned of the link
                                                                    because Taylor has named as defendants only
    between his substance abuse and PTSD in 2009
                                                                    individual Board members rather than the Board
    but did not file suit until 2012. Taylor, however,
                                                                    itself. In particular, the Board argues that (1) the
    could not have challenged the Board's 2008
                                                                    individual Board members whom Taylor has
    decision on the basis of information that was not
                                                                    named and served lack the authority to reconsider
    before the Board at that time. Taylor submitted
                                                                    the denial of parole on their own and (2) only the
    this information to the Board at his next
                                                                    Board itself is a proper defendant on Taylor's
    opportunity to apply for parole, the Board denied
                                                                    ADA claim. We need not resolve these issues
    that application in 2012, and Taylor filed suit
                                                                    because it appears that Taylor could remedy these
    shortly thereafter. He later sought to further amend
                                                                    potential defects by further amending his
    his complaint to challenge the Board's 2014 denial
                                                                    complaint. The District Court is in a better
    on this basis as well. Thus, it appears that Taylor
                                                                    position to address the propriety of further
    raised these claims within two years of their
                                                                    amendment if necessary on remand.4
    accrual.
                                                                           4 The Board docs not otherwise argue that
    The Board asks us to affirm the dismissal of these
                                                                             these claims fail to state a claim on the
    claims on two alternate grounds, but we decline to
                                                                             merits, and we decline to address that issue
    do so. First, the Board argues that these claims fail                    sua sponte and in the first instance. We
    as a matter of law because the Board did not                             note that, as a matter of substantive due
    actually rely on Taylor's history of substance                           process, the Board may not deny parole
    abuse in denying parole in 2012 and 2014 as he                           "for arbitrary .. . reasons." Block v. Potter,
    alleges. As the Board observes, the Board's 2008                         6.11 F.2d 2.U . 236 (3d Cir. 1980). We
    decision expressly states that the Board based its                       further    note   that   other     courts   have
    denial in part on Taylor's "Substance Abuse                              recognized the potential for ADA claims

    History," but its 2012 and 2014 decisions do not                         aris ing from the denial of parole on the

    state that it relied on that factor.                                     basis     of an   allegedly      disabling drug
                                                                             add iction. ~.~g., fu)govich , I X9 F.3J at
    Even assuming that it is appropriate to rely on the                      I00:l-O-t At the same time, we and other
    2012 and 2014 Board decisions themselves, which                          courts have recognized that parole boards
    Taylor did not attach to his amended complaint,                          generally may rely on prisoners' history of
    that point is not dispositive at the pleading stage.                     substance abuse when detem1ining their
    See ThomP.SOn v. Davis, 295 F.3d 890. 896 n.3                            eligibility for parole. See ThompSQll, 295

    (9th Cir. 2002) ("[W]hile the 1999 Board decision                        F.3<l at X9X n.4 ; Corujy v Vaughn, 251 F.3d
                                                                             4XO. 4X3. 4~7 (3d Cir. 2001 ). Because
8   does not disclose the Board's reliance on *8
                                                                             neither the District Court nor the Board has
    Thompson's history of substance abuse, the
                                                                             addressed the merits of these claims,
    decision does not affinnatively prove that the
                                                                             however, we will leave it for the District
    Board did not" rely on it.). The 2012 and 2014
                                                                             Court to do so in the first instance if
    Board decisions also suggest that the Board may
                                                                             necessary on remand .
    indeed have considered Taylor's past substance
    abuse because both decisions recommend that                     III.
    Taylor "work with [his] counselor to develop a
                                                                9    *9
    plan for continued ... substance abuse treatment."


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  For these reasons, we will affirm the District                  Board denied in 2012 and 2014, and we will
  Court's dismissal of Taylor's claim that the Board              remand those claims for further consideration.
  denied him due process by relying on the nature of              Because Taylor's motion for leave to further
  his offense. We also will affirm the District Court's           amend his complaint does not appear futile to that
  dismissal of Taylor's claims that the Board denied              extent and no longer is moot in light of our ruling,
  him due process and violated the ADA by relying                 we will vacate the District Court's denial of that
  on his prior substance abuse per se. We will vacate             motion as well.
  the denial of those claims to the extent that they
  challenge the Board's alleged reliance on this
  factor in light of the specific information that
  Taylor provided in the parole applications that the




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